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                            UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                            www.flsb.uscourts.gov

In re:                                                                       Case No.: 19-20404-RAM
                                                                             Chapter 13
         Carolyn Ruiz
                  Debtor(s)                /

                        OBJECTION TO CLAIM ON SHORTENED NOTICE

             IMPORTANT NOTICE TO CREDITOR: THIS IS AN OBJECTION
                               TO YOUR CLAIM

       This objection seeks either to disallow or reduce the amount or change the
priority status of the claim filed by you or on your behalf. Please read this objection
carefully to identify which claim is objected to and what disposition of your claim
is recommended. Upon the filing of this objection an expedited hearing on this
objection will be scheduled on the date already scheduled for the confirmation
hearing in accordance with Local Rule 3007-1(B)(2).

       Pursuant to Bankruptcy Rule 3007 and Local Rule 3007-1(B)(2), the
[trustee][debtor] objects to the following claim filed in this case:
Claim                                              Amount of
No.              Name of Claimant                  Claim

3                LVNV Funding, LLC /               $590.09
                 Resurgent Capital Services

Basis for Objection and Recommended Disposition

On or about August 14, 2019, Creditor filed a general unsecured proof of claim in the amount of $590.09
for a Retail account ending in xxxxxxxxxxxx0823. This debt is not listed on the Debtor’s schedule “F”, which
was obtained from the Debtor’s credit report. Further, this creditor has failed to attach any substantiating
backup documentation to prove its claim. Furthermore, this claim is barred by the statute of limitations as
the backup documentation shows this debt was last active on or about March 2, 2002. Debtors request this
claim be stricken and disallowed.
Debtor’s counsel has been forced to file this Objection to Claim in response to creditor’s filing of an improper
Proof of Claim which would never be allowed. Therefore, the Debtor respectfully requests this Court award
reasonable attorney’s fees and costs to Debtor’s counsel for bringing this objection.


Claim                                              Amount of
No.              Name of Claimant                  Claim

10               LVNV Funding, LLC /               $807.49
                 Resurgent Capital Services

Basis for Objection and Recommended Disposition


On or about October 10, 2019, Creditor filed a general unsecured proof of claim in the amount of $807.49
for a Retail account ending in xxxxxxxxxxxx2823. This debt is not listed on the Debtor’s schedule “F”, which
was obtained from the Debtor’s credit report. Further, this creditor has failed to attach any substantiating
backup documentation to prove its claim. Furthermore, this claim is barred by the statute of limitations as
the backup documentation shows this debt was last active on or about April 1, 2002. Debtors request this
claim be stricken and disallowed.
Debtor’s counsel has been forced to file this Objection to Claim in response to creditor’s filing of an improper
Proof of Claim which would never be allowed. Therefore, the Debtor respectfully requests this Court award

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reasonable attorney’s fees and costs to Debtor’s counsel for bringing this objection.

The undersigned acknowledges that this objection and the notice of hearing for this
objection will be served on the claimant and the debtor at least 14 days prior to the
confirmation hearing date and that a certificate of service conforming to Local Rule 2002-
1(F) must be filed with the court when the objection and notice of hearing are served.

DATED: May 12, 2020                              Respectfully Submitted:
                                                 Robert Sanchez, P.A.
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                                                 Hialeah, FL 33012
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